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IN THE UNITED STATES DISTRICT COURT JUL 17 2019
FOR THE WESTERN DISTRICT OF PENNSYLVANIA. LER U
S. DISTRICT COURT
WEST, DIST. OF PENNSYLVANIA

 

UNITED STATES OF AMERICA
V. Criminal No. / 4 ~ ZL ( 4

MUSTAFA MOUSAB ALOWEMER

INDICTMENT MEMORANDUM

AND NOW comes the United States of America, by its attorneys, Scott W. Brady,
United States Attorney for the Western District of Pennsylvania, and Soo C. Song, Assistant
United States Attorney for said District, and submits this Indictment Memorandum to the Court:
I. THE INDICTMENT
A federal grand jury returned a three-count indictment against the above-named

defendant for alleged violations of federal law:

 

COUNT OFFENSE/DATE TITLE/SECTION

1 Attempting to Provide Material Support and 18 U.S.C. § 2339B(a)(1)
Resources, to wit, Services and Personnel, to a
Designated Foreign Terrorist Organization (ISIS)

From in and around April 2019 to June 19, 2019

2&3 Distribution of Information Relating to Explosives, -18 U.S.C. § 842(p)(2)(A)
Destructive Devices or Weapons of Mass Destruction
with the Intent that the Information be used for, and in
Furtherance of, a Federal Crime of Violence, to wit,
18 U.S.C. § 2332a(a)(2) (Use of Weapons of Mass
Destruction)

On or about May 24, 2019 (Count 2)
On or about May 26, 2019 (Count 3)
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Il. ELEMENTS OF THE OFFENSE

A. As to Count 1:

In order for the crime of Attempting to Provide Material Support and Resources, to
wit, Services and Personnel, to a Designated Foreign Terrorist Organization (ISIS), in violation of
18 U.S.C. § 2339B(a)(1), to be established, the government must prove all of the following
essential elements beyond a reasonable doubt:

1. That the defendant knowingly provided material support or resources to a
foreign terrorist organization;

2. That the defendant knew that the organization was a designated terrorist
organization, or that the organization had engaged or was engaging in terrorist activity or terrorism.

B. As to Counts 2 and 3:

In order for the crime of Distribution of Information Relating to Explosives,
Destructive Devices, or Weapons of Mass Destruction with the Intent that the Information be used
for and in Furtherance of a Federal Crime of Violence, to wit, 18 U.S.C. § 2332a(a)(2)(Use of
Weapons of Mass Destruction), in violation of 18 U.S.C. § 842(p)(2)(A), to be established, the
government must prove all of the following essential elements beyond a reasonable doubt:

1. That the defendant distributed to any person, by any means, information
pertaining to, in whole or in part, the manufacture of an explosive, destructive device or weapon
of mass destruction;

2. That the defendant acted with the intent that the information be used for, or

in furtherance of an activity that constitutes a Federal crime of violence.
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WI. PENALTIES

A. As to Count 1: Attempting to Provide Material Support and
Resources, to wit, Services and Personnel, to a Designated Foreign Terrorist Organization
(ISIS) (18 U.S.C. § 2339B(a)(1)):

1. A term of imprisonment of twenty (20) years.

2. A fine of $250,000.

3. A term of supervised release of any term of years or for life, pursuant to
18 U.S.C. § 3583Q).

4, Any or all of the above.

B. As to Counts 2 and 3: Distribution of Information Relating to an
Explosive, Destructive Device, or Weapon of Mass Destruction with the Intent that the
Information be used for and in Furtherance of a Federal Crime of Violence, to wit, 18 U.S.C.
§ 2332a(a)(2)(Use of Weapons of Mass Destruction), (18 U.S.C. § 842(p)(2)(A)):

1, A term of imprisonment of twenty (20) years.

2. A fine of $250,000.

3. A term of supervised release of any term of years or for life, pursuant to .
18 U.S.C. § 3583q).

4. Any or all of the above.
IV. MANDATORY SPECIAL ASSESSMENT

A mandatory special assessment of $100.00 must be imposed at each count upon

which the defendant is convicted, pursuant to 18 U.S.C. § 3013.

V. RESTITUTION

Restitution may be applicable in this case.
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VI. FORFEITURE

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Because the violation of Title 18, United States Code, Section 2339B(a)(1) alleged
in Count One of this Indictment is a Federal crime of terrorism, as defined in Title 18, United
" States Code, Section 2332b(g)(5), against the United States, citizens and residents of the United
States and their property, forfeiture is applicable in this case.

~ Respectfully submitted,

SCOTT W. BRADY
United States Attorney

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SOO C. SONG i

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Assistant U.S. Attorney
DC ID No. 457268

 
